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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

VALERIE T. DONHAM,

               Plaintiff,                                    Case Number 18-13440
v.                                                           Honorable David M. Lawson

ALLY FINANCIAL, INC.,

               Defendant.
                                              /

                                STIPULATED PROTECTIVE ORDER

       Pursuant to Federal Rule of Civil Procedure 26(c) and the stipulation of the parties, the

following is ORDERED.

       1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the

Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

       2.      Confidential Information. As used in this Order, “Confidential Information” means

information designated as “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” or

“CONFIDENTIAL — ATTORNEY’S EYES ONLY” by the producing party that falls within one

or more of the following categories: (a) information prohibited from disclosure by statute; (b)

information that reveals trade secrets; (c) research, technical, commercial or financial information

that the party has maintained as confidential; (d) medical information concerning any individual;

(e) personal identity information; (f) income tax returns (including attached schedules and forms),

W-2 forms and 1099 forms; or (g) personnel or employment records of a person who is not a party
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to the case. Information or documents that are available to the public may not be designated as

Confidential Information.

        3.       Designation.

        (a)      A party may designate a document as Confidential Information for protection under

this Order by placing or affixing the words “CONFIDENTIAL — SUBJECT TO PROTECTIVE

ORDER” or “CONFIDENTIAL — ATTORNEY’S EYES ONLY” on the document and on all

copies in a manner that will not interfere with the legibility of the document. As used in this Order,

“copies” includes electronic images, duplicates, extracts, summaries, or descriptions that contain

the Confidential Information. The marking “CONFIDENTIAL — SUBJECT TO PROTECTIVE

ORDER” or “CONFIDENTIAL — ATTORNEY’S EYES ONLY” shall be applied prior to or at

the time of the documents are produced or disclosed. Applying the marking “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” or “CONFIDENTIAL — ATTORNEY’S EYES ONLY”

to a document does not mean that the document has any status or protection by statute or otherwise

except to the extent and for the purposes of this Order. Any copies that are made of any documents

marked “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” or “CONFIDENTIAL —

ATTORNEY’S EYES ONLY” shall also be so marked, except that indices, electronic databases

or lists of documents that do not contain substantial portions or images of the text of marked

documents and do not otherwise disclose the substance of the Confidential Information are not

required to be marked.

        (b)      The designation of a document as Confidential Information is a certification by an

attorney or a party appearing pro se that the document contains Confidential Information as defined

in this order.




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       (c)     The use of the designation “CONFIDENTIAL – ATTORNEY’S EYES ONLY”

shall be made only upon a good-faith assessment that the material covered by such designation

represents confidential commercial information of such a sensitive nature that its dissemination

cannot adequately be covered by the protections described in paragraph 5 below.

       4.      Depositions. Unless all parties agree on the record at the time the deposition

testimony is taken, all deposition testimony taken in this case shall be treated as Confidential

Information until the expiration of the following: No later than the fourteenth day after the

transcript is delivered to any party or the witness, and in no event later than 60 days after the

testimony was given, Within this time period, a party may serve a Notice of Designation to all

parties of record as to specific portions of the testimony that are designated Confidential

Information, and thereafter only those portions identified in the Notice of Designation shall be

protected by the terms of this Order. The failure to serve a timely Notice of Designation shall

waive any designation of testimony taken in that deposition as Confidential Information, unless

otherwise ordered by the Court.

       5.      Protection of Confidential Material.

       (a)     General Protections. Confidential Information shall not be used or disclosed by the

parties, counsel for the parties or any other persons identified in subparagraph (b) for any purpose

whatsoever other than in this litigation, including any appeal thereof.

       (b)     Limited Third-Party Disclosures. The parties and counsel for the parties shall not

disclose or permit the disclosure of any Confidential Information to any third person or entity

except as set forth in subparagraphs (1)-(9).      Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:




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                (1)     Counsel. Counsel for the parties and employees of counsel who have

responsibility for the action;

                (2)     Parties. Individual parties and employees of a party but only to the extent

counsel determines in good faith that the employee’s assistance is reasonably necessary to the

conduct of the litigation in which the information is disclosed;

                (3)     The Court and its personnel;

                (4)     Court Reporters and Recorders. Court reporters and recorders engaged for

depositions;

                (5)    Contractors. Those persons specifically engaged for the limited purpose of

making copies of documents or organizing or processing documents, including outside vendors

hired to process electronically stored documents;

                (6)     Consultants and Experts. Consultants, investigators, or experts employed

by the parties or counsel for the parties to assist in the preparation and trial of this action but only

after such persons have completed the certification contained in Attachment A, Acknowledgment

of Understanding and Agreement to Be Bound;

                (7)     Witnesses at depositions. During their depositions, witnesses in this action

to whom disclosure is reasonably necessary. Witnesses shall not retain a copy of documents

containing Confidential Information, except witnesses may receive a copy of all exhibits marked

at their depositions in connection with review of the transcripts. Pages of transcribed deposition

testimony or exhibits to depositions that are designated as Confidential Information pursuant to

the process set out in this Order must be separately bound by the court reporter and may not be

disclosed to anyone except as permitted under this Order.




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               (8)     Author or recipient. The author or recipient of the document (not including

a person who received the document in the course of litigation); and

               (9)     Others by Consent. Other persons only by written consent of the producing

party or upon order of the Court and on such conditions as may be agreed or ordered.

       (c)     Limited Third-Party Disclosures for Confidential Information Subject to the

“CONFIDENTIAL — ATTORNEY’S EYES ONLY” Designation. The parties and counsel for

the parties shall not disclose or permit the disclosure of any Confidential Information subject to

the “CONFIDENTIAL — ATTORNEY’S EYES ONLY” designation to any third person or entity

except as set forth in subparagraphs (1)-(4). This information shall not be disclosed to the parties

to this Action or to their employees, officers or directors and shall not be published to the general

public in any form or used for any business or commercial purposes by any party to this Action.

Subject to these requirements, the following categories of persons may be allowed to review

Confidential Information subject to the “CONFIDENTIAL — ATTORNEY’S EYES ONLY”

designation:

               (1)     Counsel. Counsel for the parties and employees of counsel who have

responsibility for the action;

               (2)     The Court and its personnel;

               (3)     Court Reporters and Recorders. Court reporters and recorders engaged for

depositions;

               (4)     Others by Consent. Other persons only by written consent of the producing

party or upon order of the Court and on such conditions as may be agreed or ordered.




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       (d)     Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information.           Counsel shall

maintain the originals of the forms signed by persons acknowledging their obligations under this

Order for a period of three years after the termination of the case.

       6.      Inadvertent Failure to Designate. An inadvertent failure to designate a document

as Confidential Information does not, standing alone, waive the right to so designate the document;

provided, however, that a failure to serve a timely Notice of Designation of deposition testimony

as required by this Order, even if inadvertent, waives any protection for deposition testimony. If

a party designates a document as Confidential Information after it was initially produced, the

receiving party, on notification of the designation, must make a reasonable effort to assure that the

document is treated in accordance with the provisions of this Order. No party shall be found to

have violated this Order for failing to maintain the confidentiality of material during a time when

that material has not been designated Confidential Information, even where the failure to so

designate was inadvertent and where the material is subsequently designated Confidential

Information.

       7.      Filing Under Seal. This order does not authorize the filing of any documents under

seal. Documents may be sealed only if authorized by statute, rule, or order of the Court. A party

seeking to have filed under seal any paper or other matter in this case must file and serve a motion

that sets forth: (a) the authority for sealing; (b) an identification and description of each item

proposed for sealing; (c) the reason that sealing each item is necessary; (d) the reason that a means

other than sealing is not available or unsatisfactory to preserve the interest advanced by the movant

in support of the seal; and (e) a memorandum of legal authority supporting the seal. See E.D.

Mich. LR 5.3; Shane Group, Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299 (6th Cir.




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2016). No party shall file or otherwise tender to the Clerk any item proposed for sealing unless

the Court has granted the motion required by this section. Whenever a motion to seal is filed, the

movant shall submit a brief that states the particular reason the seal is required. If a motion to seal

is granted, then the documents to be sealed shall be electronically filed.

        8.      Notice to Designating Party. Any party, other than the Designating Party, that

anticipates filing any material that has been designated as Confidential Information must provide

reasonable notice to the Designating Party of the proposed filing, so that the Designating Party

will have ample time, if it so desires, to file a motion for leave to file the material in question under

seal. The parties then shall meet and confer in connection with any anticipated motion for an order

authorizing the filing of Confidential Information under seal, in a good faith attempt to reach an

agreement regarding whether the Confidential Information should be filed under seal. See E.D.

Mich. LR 7.1(a). If an agreement is reached, then the parties may file a joint motion for leave to

file under seal, in conformance with paragraph 7 and Eastern District of Michigan Local Rule 5.3.

If an agreement is not reached, then the Designating Party may file a motion in compliance with

paragraph 7 and Local Rule 5.3. If the motion is denied, the party may file the material, but not

under seal.

        9.      No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

        10.     Challenges by a Party to Designation as Confidential Information. The designation

of any material or document as Confidential Information is subject to challenge by any party. The

following procedure shall apply to any such challenge.




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       (a)      Meet and Confer. A party challenging the designation of Confidential Information

must do so in good faith and must begin the process by conferring directly with counsel for the

designating party. In conferring, the challenging party must explain the basis for its belief that the

confidentiality designation was not proper and must give the designating party an opportunity to

review the designated material, to reconsider the designation, and, if no change in designation is

offered, to explain the basis for the designation. The designating party must respond to the

challenge within five (5) business days.

       (b)     Judicial Intervention. A party that elects to challenge a confidentiality designation

may file and serve a motion that identifies the challenged material and sets forth in detail the basis

for the challenge. Each such motion must be accompanied by a competent declaration that affirms

that the movant has complied with the meet and confer requirements of this procedure. The burden

of persuasion in any such challenge proceeding shall be on the designating party. Until the Court

rules on the challenge, all parties shall continue to treat the materials as Confidential Information

under the terms of this Order.

       11.      Use of Confidential Documents or Information at Trial. Nothing in this Order shall

be construed to affect the use of any document, material, or information at any trial or hearing. A

party that intends to present or that anticipates that another party may present Confidential

Information at a hearing or trial shall bring that issue to the Court’s and parties’ attention by motion

or in a pretrial memorandum without disclosing the Confidential Information. The Court may

thereafter make such orders as are necessary to govern the use of such documents or information

at trial. However, the use of any Confidential Information at a hearing or trial does not remove,

modify, or otherwise materially affect the applied designation of confidentiality. The designation




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of Confidential Information shall remain in effect, especially the designation of

“CONFIDENTIAL — ATTORNEY’S EYES ONLY.”

       12.     Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

       (a)     If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as Confidential

Information, the receiving party must so notify the designating party, in writing, immediately and

in no event more than three court days after receiving the subpoena or order. Such notification

must include a copy of the subpoena or court order.

       (b)     The receiving party also must immediately inform in writing the party who caused

the subpoena or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is the subject of this Order. In addition, the receiving party must deliver a copy

of this Order promptly to the party in the other action that caused the subpoena to issue.

       (c)     The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession, custody

or control Confidential Information by the other party to this case.

       13.     Obligations on Conclusion of Litigation.

       (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order shall

remain in force after dismissal or entry of final judgment not subject to further appeal.




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       (b)      Obligations at Conclusion of Litigation. Within sixty-three days after dismissal or

entry of final judgment not subject to further appeal, all Confidential Information and documents

marked “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” or “CONFIDENTIAL —

ATTORNEY’S EYES ONLY” under this Order, including copies as defined in ¶ 3(a), shall be

returned to the producing party unless: (1) the document has been offered into evidence or filed

without restriction as to disclosure; (2) the parties agree to destruction to the extent practicable in

lieu of return; or (3) as to documents bearing the notations, summations, or other mental

impressions of the receiving party, that party elects to destroy the documents and certifies to the

producing party that it has done so. Further, the receiving party shall also provide a complete list

of all persons to whom any Confidential Information or documents marked “CONFIDENTIAL —

SUBJECT TO PROTECTIVE ORDER” or “CONFIDENTIAL — ATTORNEY’S EYES ONLY”

have been disclosed.

       (c)      Nothing in this order shall constrain the handling or storage of documents filed with

the Court, which shall be governed by the applicable laws and court rules.

       14.      No Prior Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

be construed or presented as a judicial determination that any document or material designated

Confidential Information by counsel or the parties is entitled to protection under Rule 26(c) of the

Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on a specific

document or issue.

       15.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.




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                                                                  s/David M. Lawson
                                                                  DAVID M. LAWSON
                                                                  United States District Judge

Date: January 25, 2019

Stipulated to by:

s/Sergei Lemberg
Attorney for the Plaintiff
Lemberg Law, LLC
43 Danbury Road, 3rd Floor
Wilton, CT 06897

s/Mark D. Kundmueller
Attorney for the Defendant
Troutman Sanders LLP
222 Central Park Avenue, Suite 2000
Virginia Beach, VA 23462


                                        PROOF OF SERVICE

                     The undersigned certifies that a copy of the foregoing order was
                     served upon each attorney or party of record herein by
                     electronic means or first class U.S. mail on January 25, 2019.

                                                s/Susan K. Pinkowski
                                                SUSAN K. PINKOWSKI




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                                      ATTACHMENT A

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

VALERIE T. DONHAM,

               Plaintiff,                                    Case Number 18-13440
v.                                                           Honorable David M. Lawson

ALLY FINANCIAL, INC.,

               Defendant.
                                            /

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he or she has read the Confidentiality Order

issued by the Court in the above-captioned action and attached hereto, understands the terms

thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the

United States District Court for the Eastern District of Michigan in matters relating to the

Confidentiality Order and understands that the terms of the Confidentiality Order obligate him or

her to use materials designated as Confidential Information in accordance with the Order solely

for the purposes of the above-captioned action, and not to disclose any such Confidential

Information to any other person, firm or concern.

       The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.

       Name:                  ____________________________________

       Job Title:             ____________________________________

       Employer:              ____________________________________

       Business Address:      ____________________________________

       Signature: ________________________ Date: ______________


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                                     PROOF OF SERVICE

                  The undersigned certifies that a copy of the foregoing order was
                  served upon each attorney or party of record herein by
                  electronic means or first class U.S. mail on January 24, 2019.

                                             s/Susan K. Pinkowski
                                             SUSAN K. PINKOWSKI




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